     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 1 of 15




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MICHELLE MAZIAR,                            )
                                            )
      Plaintiff,                            )
                                            )      CIVIL ACTION FILE
                                            )      NO.
v.                                          )
                                            )
CITY OF ATLANTA, GEORGIA;                   )
CARMEN CHUBB and KEISHA                     )
LANCE BOTTOMS,                              )
in their individual capacities,             )
                                            )      JURY TRIAL DEMANDED
      Defendants.                           )

                                 COMPLAINT

      Plaintiff Michelle Maziar (“Plaintiff” or “Maziar”) respectfully submits the

following Complaint against Defendant City of Atlanta, Carmen Chubb, and Keisha

Lance Bottoms in their individual capacities, showing the Court as follows:

                               INTRODUCTION

      At all times relevant to this dispute, Defendant City of Atlanta employed

Plaintiff and paid Plaintiff less than black employees performing equal work.

Plaintiff brings claims of race-based pay discrimination pursuant to the Equal

Protection Clause of the Fourteenth Amendment to the United States Constitution
     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 2 of 15




and 42 U.S.C. § 1981. Plaintiff seeks injunctive and equitable relief, back pay and

compensatory damages to remedy these civil rights violations.

                                     PARTIES

      1.     Plaintiff Michelle Maziar is a resident of Fulton County, Georgia and

submits herself to the jurisdiction of this Court. Plaintiff is a current employee of

the City of Atlanta.

      2.     The City of Atlanta (“The City”) is a municipal corporation doing

business in the State of Georgia and is, therefore, subject to personal jurisdiction in

Georgia. The City of Atlanta may be served with process by serving the Mayor at

the Office of the Mayor, Executive Offices, 55 Trinity Avenue, Atlanta, Georgia

30303.

      3.     Defendant Carmen Chubb serves as the Chief of Staff for the Mayor for

the City of Atlanta. Defendant Keisha Lance Bottoms serves as the Mayor for the

City of Atlanta. Upon information and belief, Chubb is a resident of Cobb County

and Bottoms is a resident of Fulton County and subject to this Court’s jurisdiction.

They may be served with process via personal service at their place of business, 55

Trinity Avenue SW # 1790, Atlanta, Georgia 30303.
     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 3 of 15




                          JURISDICTION AND VENUE

      4.     Plaintiff’s claims under the Fourteenth Amendment and § 1981,

actionable under 42 U.S.C. § 1983, present federal questions over which the Court

has subject matter jurisdiction under 28 U.S.C. § 1331.

      5.     Venue is proper in this district and division under 28 U.S.C. § 1391

because the City of Atlanta conducts business in this district and division and the

unlawful actions and practices were committed within the Northern District of

Georgia.

                            STATEMENT OF FACTS

      6.     Maziar is white.

      7.     Maziar has worked for the City of Atlanta since May 2015 as the

Director of Immigrant Affairs.

      8.     Directors within the City of Atlanta are all appointed or reappointed by

Mayor Bottoms. Each of their salaries is set by defendants Chubb and Bottoms.

      9.     The vast majority of directors within the Mayor’s Office are black.

      10.    Those Directors are classified as Executive Directors or Directors with

no regard to responsibility, experience, or seniority.

      11.    For the vast majority of Maziar’s tenure, all Directors reported to the

Chief Operating Officer or the Chief of Staff, both of whom report to the Mayor.
     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 4 of 15




      12.    All Directors supervise employees within their respective departments

of varying size.

      13.    Black Directors are compensated at a much higher rate than Maziar

even though their employment with the City both in length and responsibility is

comparable or they have less tenure and less responsibility than Maziar.

      14.    For example, the directors of the Office of Film/Entertainment and the

Office of Television & Technology occupy comparable grades, have comparable or

less time in position, have comparable or less time with the City, and supervised

fewer employees, but all make $40,000 - $50,000 more a year than Maziar.

      15.    When Maziar noticed the disparity in pay, she met with her designated

Human Resources representative in October 2018. Two years later, in October 2020,

after repeated complaints and inquiries about the salary disparity, the City responded

that her salary would not be adjusted to that of her peers.

      16.    Maziar filed a charge of discrimination with the EEOC on December

21, 2020 claiming that the disparate compensation was based on race.

      17.    After her internal complaints and filing her EEOC Charge, the City

began to retaliate against her by effectively demoting her by placing two additional

supervisors between herself and Bottoms and Chubb. Prior to filing her charge,

Maziar had a direct line to Mayor Bottoms and all senior members of the
      Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 5 of 15




administration. After her charge, she has been told that she is no longer allowed to

reach out to commissioners, nor their deputies without prior authorization. This

effective demotion has forced Maziar to suffer a loss in prestige because the new

rule and new layer of supervision do not apply to other directors within the Mayor’s

Office.

       18.    Maziar amended her charge to include these retaliatory adverse actions

on April 27, 2021.

       19.    During this same time frame, Maziar’s new supervisor, Qaadirah Abdur

Rahim, on behalf of Chubb directed her to remove language she had included in a

memorandum to Bottoms regarding the Asian Women Spa Murders. In the memo,

Maziar stated that the Atlanta Police Department violated their standard operating

procedure and federal law by not providing interpretation for the victims' families at

the crime scene. Rahim reprimanded Maziar verbally and in e-mails and threatened

to cut off Maziar’s communication to Bottoms if she told Bottoms about APD's

illegal activity.

       20.    Simultaneously, Maziar had informed senior City leadership and the

United Way about other illegal activity as it related to the City’s federally funded

rental assistance program administered by United Way. Specifically, Maziar was

concerned about the City and United Way denying Limited English Proficient (LEP)
     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 6 of 15




residents equal access to the federally funded rental assistance program. Her last e-

mail to United Way, the day before she was terminated, specifically stated that she

had concerns that they were in violation of federal law.

      21.     The City terminated Maziar’s employment on May 6, 2021. After her

termination meeting, Maziar pressed for an explanation for the termination which

was not provided. Instead, she was simply told that she was an “at will employee.”

      22.     The unlawful, discriminatory, and retaliatory actions by the City of

Atlanta and its agents and employees were done during and within the scope of their

agency and employment with the City of Atlanta.

      23.     Because of the City of Atlanta’s unlawful, discriminatory, and

retaliatory actions and practices, Maziar has suffered and continues to suffer

emotional and resulting damages.

            GOVERNMENTAL AND DECISIONMAKER LIABILITY

      24.     At all times material to this Complaint, it was clearly established law

that subjecting an employee to race discrimination in pay violates the Equal

Protection Clause and § 1981.

      25.     The individual Defendants were, at all times material to this Complaint,

the highest Department officials with authority to hire, fire, transfer, demote,
     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 7 of 15




promote, discipline, and take personnel actions, including setting wages and salaries,

affecting employees including Maziar.

      26.    The individual Defendants’ above-pled employment actions were not

subject to, and did not require, higher review or approval.

                              PUNITIVE DAMAGES

      27.    The individual Defendants undertook all of the above-pled unlawful

conduct intentionally, willfully, and maliciously with respect to Maziar and her

federally protected rights.

      28.    Additionally, and in the alternative, the individual Defendants

undertook all the above-pled conduct with reckless disregard for Maziar and her

federally protected rights.

                             COUNT I
            VIOLATION OF THE EQUAL PROTECTION CLAUSE
                       RACE DISCRIMINATION

      29.    Plaintiff hereby realleges all preceding paragraphs of this Complaint as

if each paragraph had been fully and completely restated herein.

      30.    The Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution entitles Maziar to equal protection under the laws,

including equal protection with respect to race.
     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 8 of 15




      31.    No compelling or other governmental interest supports the Defendants’

use of race as the basis for employment decisions giving rise to this complaint.

      32.    To the extent any such interest existed, Defendants’ use of race

classifications is not the least restrictive means by which the City of Atlanta could

have effectuated such interest.

      33.    Defendants violated Maziar’s rights to equal protection by subjecting

her to race discrimination. The Defendants’ conduct constitutes unlawful

discrimination based upon race, in violation of the Equal Protection Clause.

      34.    Defendants undertook all the unlawful conduct giving to Maziar’s

claims while acting under color of state law.

      35.    As a direct and proximate result of the Defendants’ violations of the

Equal Protection Clause, Maziar has suffered damages including emotional distress,

inconvenience, losses of income and benefits, humiliation, and other indignities.

      36.    Defendants’ unlawful conduct violated clearly established law

prohibiting making compensation decisions because of race.

      37.    Chubb and/or Bottoms undertook this unlawful conduct intentionally

and malicious with respect to Maziar and her federally protected rights, entitling

Maziar to recover punitive damages against the City of Atlanta.
         Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 9 of 15




         38.   Additionally, and in the alternative, Maziar undertook unlawful

conduct recklessly with respect to Maziar and her federally protected rights, entitling

Maziar to recover punitive damages against Defendants Chubb and Bottoms.

                                       COUNT II
         RACE DISCRIMINATION IN VIOLATION OF 42 U.S.C. § 1981

         39.   Plaintiff incorporates by reference all preceding paragraphs of the

Complaint.

         40.   Defendants discriminated against Plaintiff in compensation.

         41.   Defendants’ stated reason for compensating Plaintiff differently than

her comparators is pretext for racial discrimination.

         42.   Defendants’ pay practice violates 42 U.S.C. § 1981 (“Section 1981”).

         43.   Defendants willfully and wantonly disregarded Plaintiff’s rights under

Section 1981 and acted in reckless disregard for Plaintiff’s rights under Section

1981.

         44.   Defendants’ discriminatory actions against Plaintiff were taken in bad

faith.

         45.   As a result of Defendants’ discriminatory treatment of Plaintiff,

Plaintiff has suffered lost compensation and other benefits of employment,

emotional distress, inconvenience, loss of income, humiliation, and other indignities.
     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 10 of 15




      46.    Pursuant to Section 1981, Plaintiff is entitled to damages including,

back pay and lost benefits, front pay, compensatory damages, punitive damages,

attorneys’ fees and costs of litigation pursuant to 42 U.S.C. § 1988, and all other

relief recoverable under Section 1981.

                                      COUNT III
              RETALIATION IN VIOLATION OF 42 U.S.C. § 1981


      47.    Plaintiff incorporates by reference all preceding paragraphs of the

Complaint.

      48.    Plaintiff engaged in protected activity under § 1981 by making internal

complaints to Defendant City of Atlanta alleging racial discrimination.

      49.    Defendants’ actions, in subjecting Plaintiff to retaliation for engaging

in protected activity by complaining of, and opposing, race discrimination, constitute

unlawful intentional retaliation in violation of § 1981.

      50.    Defendants willfully and wantonly disregarded Plaintiff’s rights, and

Defendants’ retaliation against Plaintiff was undertaken in bad faith.

      51.    As a result of Defendants’ unlawful actions, Plaintiff has suffered lost

compensation and other benefits of employment, emotional distress, inconvenience,

loss of income, humiliation, and other indignities.
     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 11 of 15




      52.    Pursuant to § 1981, Plaintiff is entitled to damages, including back pay

and lost benefits, front pay and/or reinstatement, compensatory damages, punitive

damages, attorneys’ fees and costs of litigation pursuant to 42 U.S.C. § 1988, and all

other relief recoverable under Section 1981.

                             COUNT IV
                     VIOLATION OF O.C.G.A. § 45-1-4
                  THE GEORGIA WHISTLEBLOWER ACT

      53.          Based on the facts alleged above, Plaintiff asserts a claim under

the Georgia Whistleblower Act, O.C.G.A. § 45-1-4.

      54.    At all times relevant to this action, Defendant City of Atlanta was

Plaintiff’s employer and was a “public employer” as defined by O.C.G.A. § 45-1-

4(a)(4).

      55.    At all times relevant to this action, Plaintiff was a “public employee”

as defined by O.C.G.A. § 45-1-4(a)(3).

      56.    While employed with Defendant City of Atlanta, Plaintiff engaged in

protected activity when she disclosed violations of laws, rules, or regulations to her

supervisors and refused to participate in such violations.

      57.    Defendant City of Atlanta took an adverse action against Plaintiff by

demoting and terminating her employment in retaliation for disclosing violations of

laws, rules, and regulations to either a supervisor or a government agency.
     Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 12 of 15




      58.    Defendant City of Atlanta additionally, or in the alternative, took an

adverse action against Plaintiff because she refused to participate in and objected to

Defendant City of Atlanta’s activities, policies, and practices. Plaintiff reasonably

believed these violations did not comply with a law, rule, or regulation.

      59.    Defendant City of Atlanta violated the Georgia Whistleblower Act by

adopting or enforcing policies or practices preventing public employees from

disclosing violations of laws, rules, and regulations to either a supervisor or a

government agency.

      60.    Instead of insuring that Defendant City of Atlanta complied with the

Georgia Whistleblower Act, Defendant actively sought to violate the Act.

      61.    Defendant City of Atlanta’s actions were willful, wanton, and

intentionally directed to harm Plaintiff.

      62.    Defendant City of Atlanta’s actions were reckless and taken in willful

disregard of the probable consequences of its actions.

      63.    As a result of the City of Atlanta’s conduct, Plaintiff has or will suffer

lost wages and benefits, and other remuneration, damage to her professional

reputation, and mental and emotional distress.

      64.    Defendant City of Atlanta’s actions and failures to act were the

proximate cause of the harm suffered by Plaintiff as alleged herein.
        Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 13 of 15




                                    COUNT V
                                 ATTORNEYS’ FEES

         65.   Based on the facts alleged above, Plaintiff asserts a claim for attorneys’

fees.

         66.   By its actions as more particularly described above, Defendant City of

Atlanta has acted in bad faith, has been stubbornly litigious and has put Plaintiff to

unnecessary trouble and expense.

         67.   Defendant City of Atlanta’s willful, deliberate, and bad faith conduct

subjects it to an award of attorneys’ fees pursuant to O.C.G.A. § 13-6-11 and

O.C.G.A. § 45-1-4(f).

                               PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully invokes the powers of this Court and

prays for the following:

         a)    That the Court grant trial by jury;

         b)    That the Court permanently enjoin the City of Atlanta from

               discriminating or retaliating against Plaintiff on any basis forbidden the

               Equal Protection Clause, 42 U.S.C. § 1981, and the GWA;

         c)    That the Court issue a declaratory judgment that Defendants’ acts,

               policies, practices, and procedures complained of herein violated

               Plaintiff’s rights to be free from discrimination and retaliation under the
    Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 14 of 15




            Equal Protection Clause, 42 U.S.C. § 1981, and the GWA; and that the

            Court permanently enjoin the City of Atlanta from such conduct in the

            future;

      d)    That Plaintiff have and recover from the City of Atlanta all amounts

            available under the Equal Protection Clause, 42 U.S.C. § 1981, and the

            GWA including but not limited to back pay, front pay, compensatory

            damages, damages for mental anguish, benefits, and all other damages

            allowed by law;

      e)    That the Court award pre-judgment and post-judgment interest to

            Plaintiff on any of the above amounts;

      f)    That Defendants be ordered to pay to all of Plaintiff’s costs and

            attorney’s fees of this action;

      g)    That Plaintiff recover punitive damages; and

      h)    That the Court grant such other and further equitable and monetary

            relief as it deems equitable, just and proper.

Respectfully submitted this 25th day of May 2021.

                                       LEGARE, ATTWOOD & WOLFE, LLC

                                       s/ Eleanor Mixon Attwood
                                       Georgia Bar No. 514014
                                       emattwood@law-llc.com
    Case 1:21-cv-02172-SDG-CMS Document 1 Filed 05/25/21 Page 15 of 15




Decatur Town Center Two
125 Clairemont Ave, Ste. 380
Decatur, Georgia 30030
Telephone: (470) 823-4000
Facsimile: (470) 201-1212
